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 1   DANIEL M. ORTNER (California State Bar No. 329866)
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 2   FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION
 3   510 Walnut Street, Suite 900
     Philadelphia, PA 19106
 4   Telephone: (215) 717-3473
     Counsel for Plaintiffs
 5
 6                               UNITED STATES DISTRICT COURT
 7                              EASTERN DISTRICT OF CALIFORNIA
                                       FRESNO DISTRICT
 8

 9                                                                        Civil Action No.:
      LOREN PALSGAARD, ET AL.,
10                                                                   1:23-cv-01228-ADA-CDB
                         Plaintiffs,
11
             v.
12                                                     STIPULATION RE: CONSOLIDATION
      SONYA CHRISTIAN, ET AL.,                         OF BRIEF IN OPPOSITION TO
13                                                     DEFENDANTS’ MOTIONS TO DISMISS
                         Defendants.
14
15
16
17                                           STIPULATION

18          IT IS HEREBY STIPULATED by and between Plaintiffs LOREN PALSGAARD,
19
     JAMES DRULEY, MICHAEL STANNARD, DAVID RICHARDSON, BILL BLANKEN, and
20
     LINDA DE MORALES (“Plaintiffs”) and Defendants SONYA CHRISTIAN, in her official
21
     capacity as the State Chancellor of California Community Colleges, AMY M. COSTA,
22
23   HILDEGARDE B. AGUINALDO, DARIUS W. ANDERSON, ADRIENNE C. BROWN, TOM

24   EPSTEIN, FELICIA ESCOBAR CARRILLO, JOLENA M. GRANDE, PAMELA HAYNES,

25   ELENI KOUNALAKIS, HARRY LE GRANDE, PAUL MEDINA, JENNIFER L. PERRY,
26   BILL RAWLINGS, MARY H. SALAS, BLAS VILLALOBOS, and JOSEPH R. WILLIAMS
27
     (the “State Defendants”), in their official capacities as members of the Board of Governors of the
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                             STIPULATION RE: Consolidation of Reply Brief
     Case 1:23-cv-01228-NODJ-CDB Document 45 Filed 01/03/24 Page 2 of 3


 1   California Community Colleges; CAROLE GOLDSMITH, in her official capacity as the
 2   Chancellor of State Center Community College District, NASREEN JOHNSON, MAGDALENA
 3
     GOMEZ, DANIELLE PARRA, RICHARD M. CAGLIA, ROBERT A. FUENTES, DEBORAH
 4
     J. IKEDA, AND DESTINY RODRIGUEZ, in their official capacities as members of the Board
 5
     of Trustees of the State Center Community College District (the “District Defendants”)
 6
 7   (collectively “the Parties”), through their respective counsel of record as follows:

 8           WHEREAS, Plaintiffs filed a Complaint in this matter on August 17, 2023 (ECF No. 1)

 9           WHEREAS, The State Defendants and District Defendants each filed a motion to dismiss
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     Plaintiffs complaint on December 15, 2023 (ECF No. 42 and 43).
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             WHEREAS Pursuant to Judge de Alba’s standing order, Plaintiffs are entitled to an
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     opposition brief of 20 pages to each of Defendants motions (Standing Order I.C.);
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             WHEREAS There is a substantial overlap in issues such that a single consolidated reply
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15   brief is in the interest of the Court and the Parties,

16           NOW THEREFORE, the Parties hereby request that the Court:
17           1. Allow Plaintiffs to file a single consolidated brief of 40 pages in opposition to the
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                 briefs of both the State Defendants and District Defendants.
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                              STIPULATION RE: Consolidation of Reply Brief
     Case 1:23-cv-01228-NODJ-CDB Document 45 Filed 01/03/24 Page 3 of 3


 1   Dated: January 3, 2024                          FOUNDATION FOR INDIVIDUAL
                                                     RIGHTS AND EXPRESSION
 2
 3
                                               By:    /s/ Daniel M. Ortner
 4                                                        Daniel M. Ortner
                                                          Attorney for Plaintiffs
 5
 6
 7
 8
     Dated: January 3, 2024                          OFFICE OF THE ATTORNEY
 9                                                   GENERAL FOR THE STATE OF
                                                     CALIFORNIA
10
11                                             By:    /s/ Jay C. Russell
                                                          Jay C. Russell
12                                                        Jane E. Reilley
                                                          Attorneys for State Defendants
13
14
15
16
     Dated: January 3, 2024                          LIEBERT CASSIDY WHITMORE
17
18
19                                             By:    /s/ David A. Urban
                                                          David A. Urban
20                                                        Morgan J. Johnson
                                                          Mark H. Meyerhoff
21                                                        Attorneys for District Defendants
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                              STIPULATION RE: Consolidation of Reply Brief
